Case 2:19-cv-05451-WJM-MF Document 6 Filed 05/09/19 Page 1 of 2 PagelD: 39

@R CONNELL
$3

FOLEY

A TRADITION OF LEGAL EXCELLENCE SINCE 1938

Connell Foley LLP William P. Krauss

56 Livingston Avenue Partner

Roseland, NJ 07068 Direct Dial 973.840.2419

P 973.535.0500 F 973.535.9217 WkKrauss@connellfoley.com
May 9, 2019

Hon. Mark Falk, U.S.M.J

Hon. Martin Luther King Building & U.S. Courthouse
50 Walnut Street Room 4015

Newark, NJ 07101

Re: Ohio Security Insurance Company v. Lolosa LLC, et al.
Docket No. 2:19-CV-05451 (WJM/MF)

Dear Judge Falk:

This firm represents Plaintiff Ohio Security Insurance Company (Ohio Security) in
connection with the above referenced matter. | am writing to advise that this the federal
declaratory action is being dismissed with prejudice

| attach a voluntary stipulation of dismissal with regard to same.
Respectfully submitted,
CONNELL FOLEY LLP
William P. Krauss
WPK/dag

Enclosure
cc: All Counsel Via ECF

 

Roseland Jersey City Newark New York Cherry Hill Philadelphia

5027503-1

www.connellfoley.com
Case 2:19-cv-05451-WJM-MF Document 6 Filed 05/09/19 Page 2 of 2 PagelD: 40

William P. Krauss, Esq.
CONNELL FOLEY LLP

56 Livingston Avenue

Roseland, New Jersey 07068
Telephone: 973-535-0500
Facsimile: 973-535-9217
Attorney for Plaintiff

Ohio Security Insurance Company

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

OHIO SECURITY INSURANCE
COMPANY,

Plaintiff,
v.

LOLOSA LLC d/b/a RALPH PICCOLO
PIZZA, ANTHONY A. PIER, ADELA
JACOVO and PROGRESSIVE GARDEN
STATE INSURANCE COMPANY,

Defendants

 

 

Civil Action No. 2:19-CV-5451(WJM/MF)

NOTICE OF
VOLUNTARY DISMISSAL

Pursuant to Fed.R.Civ.P. 41(a)(1)(@), Plaintiff, Ohio Security Insurance Company

dismisses with prejudice all claims asserted against defendants Lolosa LLC d/b/a Ralph Piccolo

Pizza, Anthony A. Pier, Adela Iacovo and Progressive Garden State Insurance Company.

1735780
1735780-1

CONNELL FOLEY LLP

By: /s/William P. Krauss

William P. Krauss
